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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


UNITED STATES OF AMERICA,                             CR 21–33–M–DLC

              Plaintiff,

       vs.                                                 ORDER

EDWARD TIMOTHY
COCKERHAM,

              Defendant.


      Before the Court is the United States’ Unopposed Motion for Preliminary

Order of Forfeiture. (Doc. 34.) The operative indictment in this case contains a

forfeiture allegation. (Doc. 10.) On October 29, 2021, Mr. Cockerham was

adjudged guilty as charged in Count I of the indictment. (Doc. 33.) He also

admitted the forfeiture allegation. (Doc. 29.) This conviction provides a factual

basis and cause to issue a forfeiture order, pursuant to 18 U.S.C. § 2253(a).

      Accordingly, IT IS ORDERED that the Motion (Doc. 34) is GRANTED.

      IT IS FURTHER ORDERED that Mr. Cockerham’s interest in the following

property is forfeited to the United States in accordance with 18 U.S.C. § 2253(a):

         • Black LG Cell Phone model L322DL, IMEI #35605810725898.

      IT IS FURTHER ORDERED that the United States Marshals Service and

Homeland Security Investigations are directed to seize the property subject to
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forfeiture and further to make a return as provided by law.

       IT IS FURTHER ORDERED that the United States will provide written

notice to all third parties asserting a legal interest in any of the above-described

property and will post on an official government internet site (www.forfeiture.gov)

for at least 30 consecutive days as required by Rule G(4)(a)(iv)(C) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions of the Court’s Preliminary Order and the United States’ intent to dispose

of the property in such manner as the Attorney General of the United States may

direct, pursuant to 18 U.S.C. § 2253(a) and 21 U.S.C. § 853(n)(1), and to make its

return to this Court that such action has been completed.

       IT IS FURTHER ORDERED that upon adjudication of all third-party

interests, if any, the Court will enter a final order of forfeiture.

       DATED this 3rd day of November, 2021.




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